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District of Golan Court of Appeals

Comuuitier on Admissions
430 & Street, N. H. — Room 123
Washington, B B.¢. 20001
202 / 879-2710

I, JULIO A. CASTILLO, Clerk of the District of Columbia Court

of Appeals, do hereby certify that

COURTNEY BYRD

was onthe __7™ _ day of FEBRUARY, 2011

duly qualified and admitted as an attorney and counselor entitled
to practice before this Court and is, on the date indicated below, an

active member in good standing of this Bar.

In Testimony Whereof, I have
hereunto subscribed my name
and affixed the seal of this Court
at the City of Washington, D.C,
on November 28, 2012.

JULIO A. CASTILLO
Clerk of the Court

py: Lender hha

Deputy Clerk
